              Case 2:04-cr-00305-JAM Document 236 Filed 10/01/14 Page 1 of 2


 1 BENJAMIN B. WAGNER
   United States Attorney
 2 PHILIP A. FERRARI
   Assistant United States Attorney
 3 501 I Street, Suite 10-100
   Sacramento, CA 95814
 4 Telephone: (916) 554-2700
   Facsimile: (916) 554-2900
 5

 6 Attorneys for Plaintiff
   United States of America
 7

 8

 9                               IN THE UNITED STATES DISTRICT COURT

10                                 EASTERN DISTRICT OF CALIFORNIA

11

12   UNITED STATES OF AMERICA,                          CASE NO. 2:04-CR-00305 JAM

13                                Plaintiff,            MOTION TO DISMISS THIRD SUPERSEDING
                                                        INDICTMENT AS TO DEFENDANT ROGELIO
14                          v.                          RAMIREZ-CARRILLO
                                                                   ORDER
15   ROGELIO RAMIREZ-CARRILLO,

16                                Defendant.

17

18          The United States hereby moves to dismiss the Third Superseding Indictment as to defendant
19 ROGELIO RAMIREZ-CARRILLO, aka Fernando Lopez Sanchez. The defendant has been a fugitive

20 for the past 10 years and his whereabouts remain unknown. This is a 10 defendant drug case with all

21 other defendants convicted and sentenced or dismissed. In the more than ten years which have passed

22 since the indictment issued, law enforcement personnel have been unable to apprehend defendant

23 RAMIREZ-CARRILLO. Pursuant to Rule 48(a) of the Federal Rules of Criminal Procedure, plaintiff

24 United States of America seeks the leave of this Honorable Court to dismiss the charges pending against

25 this defendant in the Third Superseding Indictment, and all prior pending indictments in this case,

26 without prejudice. This motion is based upon the passage of time, limitations of government resources,

27          ///
28          ///

                                                        1
              Case 2:04-cr-00305-JAM Document 236 Filed 10/01/14 Page 2 of 2


 1 and the lack of indications the defendant will be apprehended. The United States also respectfully

 2 requests that the arrest warrant be recalled.

 3

 4 Dated: September 30, 2014                               BENJAMIN B. WAGNER
                                                           United States Attorney
 5
                                                           /s/ Philip A. Ferrari
 6                                                         PHILIP A. FERRARI
                                                           Assistant United States Attorney
 7

 8                                                    ORDER
 9          The United States’ motion to dismiss is GRANTED and the charges brought against defendant
10 ROGELIO RAMIREZ-CARILLO in the Third Superseding Indictment, and all prior indictments in this

11 case, are hereby is ordered DISMISSED WITHOUT PREJUDICE. The arrest warrant is RECALLED.

12          SO ORDERED:
13
            DATED: 10/1/2014                       /s/ John A. Mendez________________
14                                                 HONORABLE JOHN A. MENDEZ
                                                   UNITED STATES DISTRICT JUDGE
15

16

17

18

19

20

21

22

23

24

25

26

27

28

                                                       2
